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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA
450 Fifth Street NW, Suite 8000
Washington, DC 20530

STATE OF ARIZONA
2005 North Central Avenue
Phoenix, AZ 85004

STATE OF CALIFORNIA
300 South Spring Street, Suite 1702
Los Angeles, CA 90013

DISTRICT OF COLUMBIA
400 Sixth Street NW, Tenth Floor
Washington, DC 20001

STATE OF FLORIDA
PL-01, The Capitol
Tallahassee, FL 32399

COMMONWEALTH OF MASSACHUSETTS
One Ashburton Place, 18th Floor
Boston, MA 02108

COMMONWEALTH OF PENNSYLVANIA
14th Floor Strawberry Square
Harrisburg, PA 17120

and

COMMONWEALTH OF VIRGINIA
202 North Ninth Street
Richmond, VA 23219

                             Plaintiffs,

                     v.
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AMERICAN AIRLINES GROUP INC.
One Skyview Drive
Fort Worth, TX 76155

and

JETBLUE AIRWAYS CORPORATION
27-01 Queens Plaza North
Long Island City, NY 11101

                                Defendants.



                                          COMPLAINT

       American Airlines Group Inc. (“American”), the largest airline in the world, and JetBlue

Airways Corporation (“JetBlue”), a uniquely disruptive low-cost airline, have entered an

unprecedented and anticompetitive pact. Under their so-called “Northeast Alliance,” the two

rivals have quietly agreed to share their revenues and coordinate which routes to fly, when to fly

them, who will fly them, and what size planes to use on flights to and from four major airports:

Boston Logan International Airport (“Boston Logan”), John F. Kennedy International Airport

(“JFK”), LaGuardia Airport (“LaGuardia”), and Newark Liberty International Airport (“Newark

Liberty”). By consolidating their businesses in this way, American and JetBlue will effectively

merge their operations on flights to and from the four airports—which collectively account for

two thirds of JetBlue’s business. In so doing, the Northeast Alliance will eliminate significant

competition between American and JetBlue that has led to lower fares and higher quality service

for consumers traveling to and from those airports. It will also closely tie JetBlue’s fate to that

of American, diminishing JetBlue’s incentives to compete with American in markets across the

country. The United States and Plaintiff States bring this action to prevent the hundreds of


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millions of dollars in harm to consumers that will occur if these two rivals are permitted to

maintain this modern-day version of a nineteenth-century business trust.

I.     INTRODUCTION

       1.      Millions of consumers depend on the airline industry to travel quickly, efficiently,

and safely within the United States and around the world. Since the U.S. airline industry was

deregulated in 1978, the public has relied on competition among airlines to promote

affordability, innovation, and quality of service. In recent decades, however, the airline industry

in the United States has become increasingly concentrated through mergers, acquisitions, and

alliances between competitors. Today, it is dominated by four large airlines: three “legacy”

airlines—American, Delta Air Lines, and United Airlines—and Southwest Airlines. American is

the largest of these airlines. Together, the four control over 80 percent of domestic air travel.

       2.      American’s management has long been a “proponent of consolidation in the

industry.” As American’s current CEO explained in 2012: “With fewer airlines, there are fewer

of us trying to get the same number of customers.” “Domestic consolidation” remains one of

American’s “long term projects.”

       3.      American has championed consolidation internationally as well. Because airlines

are generally unable to merge formally across national borders, however, American instead has

orchestrated de facto mergers through a series of “alliances”—intricate joint ventures involving

extensive coordination and sharing of revenues. The other legacy airlines have formed similar

alliances. As a result, the vast majority of traffic between the United States and Europe, for

example, is now controlled by three global alliances (oneworld, SkyTeam, and Star Alliance),

each headed by one of the three legacy airlines. As JetBlue’s CEO has explained, “it may look

as if a dozen or more airlines [are] providing service. But when you go under the surface, it’s



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really just three big mega-alliances controlling 87% of the traffic. . . . Consumers effectively

have very little choice in markets where JVs [joint ventures] have a stranglehold—and they also

face higher fares.”

       4.      JetBlue used to oppose consolidation by the major airlines. In 2019, just months

before American approached JetBlue about a possible partnership, JetBlue explained: “We

believe the mega-carriers are large enough—we don’t think it’s in the interest of consumers or

airline workers to allow the giants to get even bigger and more powerful.” That same year,

JetBlue warned: “All that power in the hands of a few very deep-pocketed airlines has

implications for consumers in the form of reduced options, high fares and often poor service.”

       5.      In the face of consolidation, JetBlue has provided an important and steadfast

source of competition. As JetBlue has explained, “our brand boxes far above our weight.”

“Smaller carriers like JetBlue play a critical role in keeping the commercial aviation industry

competitive and keeping the immense power of the legacy airlines in check.” JetBlue serves “as

an important counterweight to the concentration of power held by our largest competitors; the

benefits we bring to the market—lowering fares, stimulating demand, and raising the bar in

Customer service—are clear.” JetBlue’s own estimate shows that it has saved consumers a total

of more than $10 billion since the airline’s founding, offering lower fares and better service and

forcing competitors to do the same. Even that estimate was, in JetBlue’s words, “conservative.”

       6.      JetBlue’s reputation for lowering fares is so well known in the airline industry

that it has earned a name: the “JetBlue Effect.” JetBlue’s record in Boston and New York City

illustrates why. Since launching service at Boston Logan in 2004, JetBlue has challenged the

major airlines—including American—by offering lower fares and better service. Consumers

voted with their feet. JetBlue became Boston’s leading airline, offering more flights out of



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Boston than any other airline. What’s more, JetBlue forced American and other airlines that

serve Boston to lower their fares as well. This competition has resulted in substantial savings for

consumers. In 2019, JetBlue estimated that it had saved consumers flying to and from Boston

more than $3 billion since it started serving the airport in 2004. JetBlue has had a similar effect

in New York City. In a presentation titled “16 Years of Disrupting the Industry,” JetBlue

explained that “there’s no question we are a disruptor. There’s no better example of how we’ve

influenced change than at our home at JFK Airport.”

       7.      Before entering into the Northeast Alliance, American and JetBlue were poised to

compete even more intensively. Having fallen significantly behind JetBlue in Boston, American

had vowed to “win BOS back” by adding routes, increasing capacity on existing flights, and

obtaining new gates. Likewise, JetBlue had announced more flights to and from Boston.

JetBlue was also pursuing opportunities to expand in New York City, and considering expansion

at American strongholds like Philadelphia, Miami, and Los Angeles. As a JetBlue network

planning executive explained in June 2020, “one of the most common trends in JetBlue’s 20 year

history is easily stealing share from AA [American] and eventually winning. So that applies to

PHL [Philadelphia] and MIA [Miami].”

       8.      JetBlue had also announced plans to launch its first transatlantic flight, from New

York to London, and publicly touted plans to further expand service to Europe, in what promised

to be the most significant challenge to the three global alliances’ stranglehold in those markets.

“These fares are obscene—they are obscene—and they should not be permitted to exist,”

JetBlue’s CEO said of the legacy airlines’ transatlantic service in 2019. “[F]or a low-cost carrier

to come in and discipline the market, lower fares, create more availability, I think that’s a good

thing.” Indeed, American executives feared the impact that JetBlue’s new transatlantic service



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would have on fares. On flights between Boston and London Heathrow, for example, American

worried internally about a “50-60% fare drop in BOSLON once B6 [JetBlue] starts non-stop

service.”

       9.      Recognizing the significant and growing threat posed by JetBlue, and not satisfied

with the consolidation that has made it the largest airline in the world, American now seeks to

co-opt JetBlue through an unprecedented domestic alliance. Knowing full well that an outright

merger would invite a challenge under Section 7 of the Clayton Act, American instead seeks to

align JetBlue’s economic incentives with its own through a far-reaching partnership based on the

same kinds of alliances that American has used to consolidate international air travel. In so

doing, American and JetBlue have violated Section 1 of the Sherman Act by effectively merging

their operations in Boston and New York City and eliminating competition that has resulted in

substantial benefits for consumers.

       10.     The harms threatened by the Northeast Alliance, however, extend well beyond

Boston and New York City. In keeping with their long-held strategy of consolidating the

industry, American’s senior executives identified “[f]urther domestic consolidation” as a

potential value of the Northeast Alliance. Like previous consolidation efforts, the Northeast

Alliance allows American to forgo independent growth that would have benefited consumers.

By effectively absorbing JetBlue’s operations in Boston and New York City, American can

reduce investments not just in those cities, but also in other parts of its network where it

otherwise would maintain or add service. As a consequence, consumers across the country will

have fewer options and pay higher fares.

       11.     In addition, by tying JetBlue’s success to that of American, the Northeast Alliance

will significantly dampen JetBlue’s incentive to continue to compete with its much larger partner



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in the Northeast and beyond. Because JetBlue’s existing operations focus on the Northeast, two

thirds of JetBlue’s business will be bound up with American as part of the Northeast Alliance.

JetBlue itself recognized the danger posed by this close dependence. Less than two months

before entering the Northeast Alliance, JetBlue warned its Board of Directors that the Northeast

Alliance created a risk of JetBlue being “co-opted by Connie [American] manipulation” and

noted that potential ways to alleviate this risk might help preserve only some level of JetBlue’s

independence.

       12.      If JetBlue complies with American’s wishes, the Northeast Alliance gives

American ways to reward JetBlue; if American doesn’t like what it sees from JetBlue, the

Northeast Alliance gives American the tools to punish JetBlue and bring it to heel. American

can, for example, cut off JetBlue’s access to American’s infrastructure in New York, including

scarce take-off-and-landing authorizations or “slots,” on which JetBlue will come to rely. Or

American can reward JetBlue with more slots. During their regular network planning meetings,

if JetBlue is behaving, American can agree to exit markets where JetBlue competes. Or

American can terminate the arrangement altogether, leaving JetBlue compromised for having

relied upon American. In these ways and others, JetBlue will be beholden to its larger partner,

resulting in a wide-ranging diminution in competition in an industry in which competition is

already in critically short supply.

       13.      American and JetBlue claim that the Northeast Alliance will result in pro-

competitive benefits, but consumers have heard these empty promises before, including from

American. Consumers will be better off if American and JetBlue continue to compete for their

business. The United States and Plaintiff States bring this action to prevent the harm to

consumers that will occur once the Northeast Alliance is fully implemented and demand for



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airline travel has recovered from the impact of the Covid-19 pandemic. For these reasons and

those set forth below, the Northeast Alliance violates Section 1 of the Sherman Act, and should

be enjoined.

II.     JURISDICTION, INTERSTATE COMMERCE, AND VENUE

        14.     The United States brings this action pursuant to Section 4 of the Sherman Act, as

amended, 15 U.S.C. § 4. The States of Arizona, California, and Florida, the Commonwealths of

Massachusetts, Pennsylvania, and Virginia, and the District of Columbia (“Plaintiff States”)

bring this action under Section 16 of the Clayton Act, 15 U.S.C. § 26, as parens patriae on

behalf of and to protect their general economies and the health and welfare of their residents.

Plaintiffs do so to prevent and restrain American and JetBlue from violating Section 1 of the

Sherman Act, 15 U.S.C. § 1. This Court has subject-matter jurisdiction over this action under

Section 4 of the Sherman Act, 15 U.S.C. § 4.

        15.     American and JetBlue are engaged in interstate commerce and in activities

substantially affecting interstate commerce. American and JetBlue each annually transport

millions of passengers across state lines throughout this country, generating billions of dollars in

revenues while doing so.

        16.     Venue is proper under Section 12 of the Clayton Act, 15 U.S.C. § 22. This Court

also has personal jurisdiction over each Defendant. Both Defendants are found and transact

business in this judicial district.

III.    DEFENDANTS AND THE NORTHEAST ALLIANCE

        A.      Defendants

        17.     American is the largest airline in the world. In 2019, the last full year before the

pandemic, American flew approximately 215 million passengers to more than 365 locations

worldwide, taking in roughly $45 billion in revenues. American is a Delaware corporation with

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its headquarters in Fort Worth, Texas.

       18.     JetBlue is a low-cost airline founded in 1998. In 2019, JetBlue flew over 42

million passengers to approximately 100 locations worldwide, taking in roughly $8 billion in

revenues. JetBlue has a significantly lower cost structure than the legacy airlines, allowing it to

operate profitably even when offering consumers lower fares. Unlike other low-cost carriers,

such as Southwest Airlines, or ultra-low-cost carriers, such as Spirit Airlines and Allegiant Air,

JetBlue also offers two classes of service, which helps it compete effectively against the legacy

carriers for higher-paying leisure and business customers. JetBlue is a Delaware corporation

with its headquarters in Long Island City, New York.

       B.      The Northeast Alliance

       19.     On July 15, 2020, American and JetBlue entered into the Northeast Alliance. The

Northeast Alliance contains many distinct agreements between Defendants. Most notably, an

umbrella agreement, titled the Northeast Alliance Agreement, commits Defendants to pool

revenues and coordinate “on all aspects” of network planning at Boston Logan, JFK, LaGuardia,

and Newark Liberty, including deciding together which routes to fly, when to fly them, who will

fly them, and what size planes to use. In addition, the Mutual Growth Incentive Agreement

commits Defendants to pool and apportion revenues earned on flights to and from the four

airports such that each partner earns the same revenues regardless of whether a passenger flies on

an American or a JetBlue plane. An explicit goal of these agreements is to make “each carrier

indifferent” about whether a passenger chooses American or JetBlue for a particular flight to or

from the four airports.

       20.     These kinds of restraints of trade—agreements between competitors to coordinate

on output or to share revenues—are often condemned as per se illegal because they have the



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same tendencies to increase prices and reduce output as explicit horizontal agreements on

price. While American and JetBlue technically retain the ability to price independently under the

Northeast Alliance, in reality, neither airline will have the incentive to undercut the other on

price because doing so would simply reduce the revenues each earns under the revenue-sharing

arrangement. Moreover, Defendants can raise fares simply by one of them exiting a market

where it competed against the other, and then share in their now-ally’s increased profits. They

can also agree to cut the number of seats they fly in a market and, in so doing, raise fares. In any

of these ways, American and JetBlue can increase fares without ever talking to each other about

pricing.

       21.     At the same time that American and JetBlue agreed to these restraints, they also

entered a series of other agreements. Among them is a Codeshare Agreement, through which

American and JetBlue have agreed to market each other’s flights to and from the four airports, as

well as potentially other flights that have yet to be determined. American and JetBlue have also

agreed to pool their “slots” at JFK and LaGuardia, which are takeoff and landing authorizations

issued by the Federal Aviation Administration.

       22.     This combination of agreements resembles—and was specifically modelled

after—the alliances American has used to bring de facto consolidation to international markets.

Through the Northeast Alliance, American and JetBlue will effectively merge their operations in

Boston and New York City and reduce choices for consumers. The Northeast Alliance is

anticompetitive and unlawful as a whole, and the output coordination and revenue-sharing

restraints present particular competitive concerns due to their inherently anticompetitive nature.

IV.    INDUSTRY BACKGROUND

       A.      Domestic Consolidation in the Airline Industry

       23.     Over the past two decades, the U.S. airline industry has experienced dramatic

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consolidation through mergers and acquisitions, including those of American/TWA (2001),

America West/US Airways (2005), Delta/Northwest (2008), United/Continental (2010),

Southwest/AirTran (2011), US Airways/American (2013), and Alaska/Virgin America (2016).

As the following JetBlue presentation shows, the four largest airlines now collectively control

over 80 percent of domestic air travel.




As JetBlue’s CEO has remarked, “this is a startling concentration of power.”

       24.     American’s current CEO, Doug Parker, has cheered these successive waves of

industry consolidation. When he was not cheering them, he led them. He served as CEO of

America West when it merged with US Airways. Later, he served as CEO of US Airways when

it merged with American. Internally, American has referred to Mr. Parker as the “Godfather of

consolidation.”

       25.     Consolidation may have benefited American, but as JetBlue’s CEO told the public

less than two years before entering into the Northeast Alliance, “it has come at a cost to

consumers. Just look at the fares in some of the fortress hubs and in some of the legacy-

dominated markets without low-fare competition. Chances are, you’ll see fares that are higher


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than they should be and in that construct there’s very little incentive to provide great service or to

innovate.”

       26.     One way that consolidation has produced this result is by allowing the major

airlines to reduce “capacity,” the industry’s term for the number of seats made available to

consumers. As American’s CEO explained to investors in 2006, there is an “inextricable link”

between removing seats and raising fares. Each significant legacy airline merger in recent years

has been followed by substantial reductions in service. In 2005, America West merged with US

Airways. The combined firm reduced capacity, including by cutting flights at two former hubs

in Pittsburgh and Las Vegas. US Airways’ own post-merger analysis confirmed that it

succeeded in obtaining a “3% - 4% [industry] capacity reduction.” In 2008, Delta merged with

Northwest. Again, the combined firm reduced capacity, including by cutting flights at two

former hubs in Cincinnati and Memphis. In 2010, United merged with Continental. Yet again,

the combined firm reduced capacity, including by shuttering its hub in Cleveland. The trend

continued in 2013, when American merged with US Airways. Under Mr. Parker’s management,

the combined company cut flights at its hubs in Philadelphia and Phoenix.

       27.     In addition to facilitating these capacity reductions, consolidation has made it

easier for American and other legacy carriers to restrict domestic capacity growth. The legacy

airlines euphemistically call this effort “capacity discipline.” To promote it, senior executives of

the legacy airlines have used public statements to emphasize the importance of restricting

industry growth and to communicate their individual commitments to keep growth in check.

They have also used mergers and acquisitions to make their jobs easier. Before US Airways

merged with American, for example, it stated that if American implemented its aggressive

standalone growth plans, other airlines “may react to AMRs [American’s] plans with their own



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enhanced growth plans destabilizing [the] industry,” which would negatively impact industry

revenues and threaten industry pricing. Following the merger and under Mr. Parker’s leadership,

the combined airline kept its capacity in check, growing at a lower rate than the industry overall.

       28.     JetBlue’s CEO put it succinctly in 2019: “there’s been a lot of consolidation in the

U.S., and we really don’t have a competitive industry.”

       B.      International Consolidation in the Airline Industry

       29.     In parallel with their efforts to achieve domestic consolidation, American and the

other legacy airlines have sought to consolidate the industry internationally. They have done so

through joint ventures similar to the one American now attempts to impose on consumers in the

United States. In transatlantic markets, for example, American has entered into a joint venture

with British Airways, Iberia, Finnair, and Aer Lingus, by which they share revenues and

coordinate operations and pricing. Delta has formed a similar alliance with Air France, KLM,

and Virgin Atlantic. United has done the same with Lufthansa and Air Canada. As JetBlue’s

CEO explained in October 2019, the result is that:

       “between the U.S. and Europe, you’d think there’s about 12-15 airlines flying, but
       there really isn’t. You know, there are three large joint ventures. In these joint
       ventures, these airlines have a permission slip to collude, set pricing, set scheduling
       together. Look, if it happened in any other industry, they’d march you off to the
       penitentiary, but in aviation it’s taken hold . . . And that’s why you get such high
       fares.”
       30.     American now seeks to bring the strategy home to the United States, by using an

alliance to co-opt a uniquely disruptive competitor: JetBlue.

       C.      JetBlue’s Role as a Disruptive Competitor

       31.     For years, JetBlue has undermined American’s efforts to restrain industry

capacity growth and raise fares. The contrast between JetBlue and American’s strategies has

been stark. As JetBlue’s CEO explained in 2015, the “legacy airlines will boast about capacity


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discipline” and “boost profits with higher fares,” but JetBlue will do the opposite: “We’ll add

capacity to keep fares competitive.”

       32.     The numbers back it up. Between 2004 and 2019, the last full year before the

pandemic, JetBlue expanded its domestic capacity by more than 149 percent, as measured by

available seat miles (“ASMs”), a common industry measure of capacity. By contrast, over that

same time period, American’s domestic capacity actually declined. Indeed, accounting for the

consolidation achieved through mergers, the three legacy carriers collectively reduced domestic

capacity by 4 percent over this period.

       33.     JetBlue’s capacity growth has been especially remarkable in markets to or from

endpoints in the Northeast, where JetBlue has focused its operations. 1 By 2019, JetBlue had

grown into the fourth largest carrier in those markets, with roughly 16 percent of capacity, after

American (21 percent), Delta (21 percent), and United (20 percent). To achieve that status,

JetBlue grew its capacity within those markets 154 percent between 2004 to 2019, adding

approximately 25 billion ASMs. By contrast, American and the other legacies collectively

shrunk their capacity by 9 percent, or approximately 15 billion ASMs.

       34.     JetBlue’s capacity growth also has been remarkable in markets within the East

Coast. 2 By 2019, JetBlue had grown into the third largest carrier in those markets, with roughly

16 percent of capacity, after Delta (26 percent) and American (23 percent). To achieve that



1
 For purposes of the calculations in this paragraph, the Northeast includes Connecticut, Maine,
Massachusetts, New Hampshire, New Jersey, New York, Pennsylvania, Rhode Island, and
Vermont. See U.S. Census Bureau, Census Regions and Divisions of the United States (2010),
https://www2.census.gov/geo/pdfs/maps-data/maps/reference/us regdiv.pdf.
2
 For purposes of the calculations in this paragraph, the East Coast includes Connecticut,
Delaware, the District of Columbia, Florida, Georgia, Maine, Maryland, Massachusetts, New
Hampshire, New Jersey, New York, North Carolina, Pennsylvania, Rhode Island, South
Carolina, Vermont, and Virginia.
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status, JetBlue grew its capacity 182 percent in those markets between 2004 and 2019, adding

approximately 12 billion ASMs. By contrast, American and the other legacy airlines collectively

shrunk their capacity in these markets by 7 percent, or approximately 5 billion ASMs.

       35.     Just as JetBlue has aggressively introduced capacity, so too has JetBlue

challenged the legacy airlines in other ways. As JetBlue has explained, “carriers like JetBlue

play a vital role in keeping the commercial aviation industry competitive here and abroad.” The

“presence of smaller competitive carriers like JetBlue helps push fares down across the board.”

       36.     JetBlue is uniquely disruptive. As JetBlue explained to investors last year,

“JetBlue is a unique airline with a differentiated strategy supported by a number of competitive

advantages.” JetBlue has a significantly lower cost structure than its legacy competitors,

allowing it to operate profitably while charging lower fares. As a result, JetBlue has a long and

public track record of significantly lowering fares when it enters a market. JetBlue also offers

two classes of service through its innovative Mint service. JetBlue touts Mint as “the best

premium product in the market,” and it helps JetBlue compete effectively against the legacy

carriers for higher-paying leisure and business customers in ways other smaller airlines cannot.

As JetBlue’s CEO has explained, “JetBlue has always been a contrarian airline—a disruptor.”

       37.     Likewise, JetBlue has always been, in its words, “an innovative company.” A

pioneer in service improvements for economy passengers, JetBlue was the first airline to offer

live TV. It was the first to offer free, high-speed Wi-Fi to all passengers, and remains the only

airline to do so. In 2014, JetBlue’s launch of Mint caused premium fares, in JetBlue’s CEO’s

words, to “halve.” JetBlue’s next ambition was to disrupt transatlantic markets and challenge

American and the other legacy carriers internationally. “The fares have got so obscenely high,”

JetBlue’s CEO said of transatlantic service just weeks before American approached JetBlue



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about a partnership. “[W]e’re going to improve service, we’re going to cut fares dramatically,”

he told the public. “You should be paying a fraction of that [legacy prices], and that’s what

we’re going to do.”

V.     THE RELEVANT MARKETS AND CONCENTRATION

       A.      Relevant Markets

       38.     The relevant product market for assessing the effects of the Northeast Alliance is

scheduled air passenger service. Air travel enables consumers to travel quickly and efficiently

between airports, offering passengers significant time savings and convenience over other forms

of travel. For example, a flight between Boston Logan and Ronald Reagan Washington National

Airport (“Reagan National” or “DCA”) takes approximately an hour and forty-five minutes of

flight time, whereas driving between the two locations takes around eight hours and a train trip

takes around seven hours.

       39.     Due to time savings and convenience afforded by scheduled air passenger service,

not enough passengers would substitute other modes of transportation (car, bus, or train) to

defeat a small but significant and non-transitory price increase by a hypothetical monopolist of

scheduled air passenger service. Therefore, a hypothetical monopolist over all scheduled air

passenger service likely would increase its prices by at least a small but significant and non-

transitory amount.

       40.     Within the relevant product market, consumer preferences differ. For example,

some passengers prefer premium over economy seats; some passengers prefer nonstop over

connecting service because it saves travel time; and some passengers prefer buying tickets at the

last minute rather than far in advance. Through a variety of fare restrictions and rules, airlines

can profitably raise fares for some of these passengers without raising fares for others. Thus, the

competitive effects of the Northeast Alliance may vary among passengers depending on their
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preferences for particular types of service.

       41.     Most passengers book flights with their origins and destinations predetermined.

Not enough passengers who wish to travel between one origin and destination pair would switch

to flights between a different origin and destination pair to defeat a small but significant and non-

transitory price increase by a hypothetical monopolist. Therefore, a hypothetical monopolist of

all scheduled air passenger service in each origin and destination pair likely would increase its

prices by at least a small but significant and non-transitory amount. As a result, scheduled air

passenger service between each origin and destination pair where American and JetBlue compete

or likely would compete in the future comprise the relevant markets for assessing the effects of

the Northeast Alliance under the Sherman Act.

       42.     Because passengers seek to depart from airports close to where they live and

work, and arrive at airports close to their intended destinations, some passengers within a

metropolitan area may strongly prefer service at a particular airport or airports. Ground transport

times can vary significantly for airports within the same metropolitan area. Recognizing these

distinct passenger preferences, airlines may set prices and manage the availability of fares at

airports differently, even if those airports serve the same large metropolitan area. Therefore, an

origin or destination is no broader than all the airports in a metropolitan area, but in some areas

that contain more than one airport, a specific airport or airports may constitute a distinct origin or

destination for the purposes of defining relevant markets.

       43.     The four examples described below are particularly relevant for purposes of

assessing the effects of the Northeast Alliance.

       44.     Boston Logan. Many passengers traveling to and from Boston Logan do not

consider Rhode Island T.F. Green International Airport and New Hampshire’s Manchester-



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Boston Regional Airport to be reasonable alternatives to Boston Logan. Not enough passengers

who wish to fly to and from Boston Logan would switch to flying to and from T.F. Green or

Manchester-Boston Regional to defeat a small but significant and non-transitory price increase

by a hypothetical monopolist. Therefore, a hypothetical monopolist of scheduled air passenger

service in an origin and destination pair involving flights to and from Boston Logan likely would

increase its prices by at least a small but significant and non-transitory amount.

       45.     JFK and LaGuardia (for Domestic Travel). For domestic travel, many passengers

traveling to and from JFK or LaGuardia do not view service to Newark Liberty as a reasonable

substitute to JFK or LaGuardia. As JetBlue has recognized, Newark Liberty has a “distinct”

catchment area “that does not largely overlap with LGA [LaGuardia] or JFK.” Not enough

passengers who wish to fly between JFK or LaGuardia and a domestic origin or destination

would switch to Newark Liberty to defeat a small but significant and non-transitory price

increase by a hypothetical monopolist. Therefore, a hypothetical monopolist of scheduled air

passenger service in an origin and destination pair involving domestic flights to and from

JFK/LaGuardia likely would increase its prices by at least a small but significant and non-

transitory amount.

       46.     JFK, LaGuardia, and Newark Liberty (for Transatlantic Travel). For

transatlantic travel, for reasons such as longer flight times and the need to go through customs,

more passengers traveling between the New York City metropolitan area and transatlantic

destinations may view JFK, LaGuardia, and Newark Liberty as reasonable substitutes. Not

enough passengers who wish to fly between JFK, LaGuardia, or Newark Liberty and a

transatlantic origin or destination would switch to another airport to defeat a small but significant

and non-transitory price increase by a hypothetical monopolist. Therefore, a hypothetical



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monopolist of scheduled air passenger service in an origin and destination pair involving

transatlantic flights to and from JFK/LaGuardia/Newark Liberty likely would increase its prices

by at least a small but significant and non-transitory amount.

       47.     Reagan National. Many passengers traveling to and from Reagan National do not

consider Baltimore/Washington International Thurgood Marshall Airport (“BWI”) or

Washington Dulles International Airport (“Dulles”) to be reasonable alternatives to Reagan

National. As JetBlue has told the Department of Transportation: “Service from other airports in

the greater Baltimore-Washington metropolitan area is not a substitute for service from DCA.”

Not enough passengers who wish to fly to or from Reagan National would switch to BWI or

Dulles to defeat a small but significant and non-transitory fare increase by a hypothetical

monopolist. Therefore, a hypothetical monopolist of scheduled air passenger service between an

origin and destination pair involving flights to and from Reagan National likely would increase

its prices by at least a small but significant and non-transitory amount.

       B.      Many Relevant Markets Are Highly Concentrated and the Northeast
               Alliance Will Significantly Increase that Concentration
       48.     Where a collaboration between competitors effectively operates like a merger, it

is appropriate to evaluate the collaboration using analytical tools from merger analysis. See U.S.

Dep’t of Justice & Fed. Trade Comm’n, Antitrust Guidelines for Collaborations Among

Competitors § 1.3 (Apr. 2000). One analytical tool often used to evaluate the likely competitive

effects of a merger is market concentration. The more concentrated a market, and the more a

merger would increase concentration in a market, the more likely it is that a merger between

competitors would result in a meaningful reduction in competition. Concentration is typically

measured by the Herfindahl-Hirschman Index (“HHI”). Markets in which the HHI exceeds

2,500 points are considered highly concentrated. Increases in the HHI of more than 200 points


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are considered to be significant increases in concentration. If a merger would increase the HHI

by more than 200, and would result in an HHI above 2,500, the merger is presumed likely to

enhance market power and substantially lessen competition. See U.S. Dep’t of Justice & Fed.

Trade Comm’n, Horizontal Merger Guidelines § 5.3 (revised Aug. 19, 2010).

       49.     The Northeast Alliance effectively operates like a merger in domestic markets

that have either Boston or JFK/LaGuardia as an endpoint. In these markets, American and

JetBlue will coordinate capacity and share revenues with one another. Under a merger analysis,

the Northeast Alliance would be presumptively anticompetitive in the 11 domestic markets

shown in Appendix A, where Defendants both provided competing nonstop service to and from

Boston prior to the pandemic. The Northeast Alliance would also be presumptively

anticompetitive in the 17 domestic markets shown in Appendix B, where Defendants both

provided competing nonstop service to and from JFK/LaGuardia prior to the pandemic.

       50.     Concentration measures are also instructive for assessing harms in other markets

where the Northeast Alliance likely will significantly diminish Defendants’ ability and incentive

to compete. In such markets, Defendants will partially coordinate capacity and will share some

but not all of their revenues. For example, Appendix C shows 98 domestic markets where, prior

to the pandemic, no airline provided nonstop service but JetBlue’s connecting service through

Boston or JFK/LaGuardia competed against American’s connecting service through other

hubs. In the markets in Appendix C, Defendants will share revenues and coordinate capacity on

JetBlue’s service, thereby dampening Defendants’ incentives to compete.

       51.     Within each of the over one hundred markets in the Appendices, the Northeast

Alliance would significantly increase concentration, resulting in a highly concentrated

market. In those markets alone in 2019, American and JetBlue served more than 17 million



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passengers and collected more than $3.8 billion. Those markets do not even include the many

other highly concentrated markets where the Northeast Alliance likely will harm competition,

such as legacy-dominated transatlantic markets that JetBlue is poised to disrupt, or markets

outside the Northeast Alliance where Defendants will have dampened incentives to compete.

VI.    THE NORTHEAST ALLIANCE LIKELY WILL HARM COMPETITION

       52.     As explained more fully below, the Northeast Alliance likely will cause

significant and wide-ranging harms to consumers across the country, including in Plaintiff States.

It likely will harm competition in dozens of domestic markets to and from Boston and

JFK/LaGuardia. In addition, the Northeast Alliance likely will harm competition in legacy-

dominated transatlantic markets to and from Boston and JFK/LaGuardia/Newark Liberty that

JetBlue is uniquely poised to disrupt. More broadly, the Northeast Alliance likely will facilitate

reductions in capacity, and will significantly curtail JetBlue’s independence and dampen its

incentives to compete with American to serve consumers across the country.

       A.      The Northeast Alliance Likely Will Harm Competition in Domestic Markets
               to and from Boston
       53.     The Northeast Alliance will eliminate competition between American and JetBlue

in markets to and from Boston, leading to reductions in capacity, higher fares, and lower quality

of service. Prior to the pandemic, American and JetBlue competed to provide nonstop service in

the 11 domestic markets with Boston as an endpoint that are listed in Appendix A. JetBlue’s

nonstop service also competed against American’s connecting service in many other markets to

and from Boston.




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       54.     Competition between American and JetBlue has, for years, resulted in lower fares

for consumers traveling to and from Boston. Since JetBlue launched service at Boston Logan, it

has touted in presentations to governmental agencies, lenders, and public audiences that its

competition with American and other legacy airlines has reduced fares. JetBlue has advertised,

for example, that the average fare for flights between Boston Logan and LaGuardia fell from

$223 to $115 after it entered the market. As American’s Manager of Sales Planning explained in

2019, American’s operations in Boston do “not perform well from a profitability perspective . . .

largely due to the fare destruction B6 [JetBlue] have wrought.”

       55.     Before the Northeast Alliance, competition between American and JetBlue was

poised to increase. American planned to significantly increase Boston Logan departures and add

new destinations between 2019 to 2024. In September 2019, American’s Senior Vice President

for Network Strategy rallied his team: “WE are not done in BOS” and “are going to fight like

hell in BOS if I have anything to do with it.” In January 2020, the same executive commanded,

“Gird your loins. Time to swing the bat in Boston.”

       56.     JetBlue also planned to continue growing in Boston. JetBlue’s growth plans

included adding more flights between Boston Logan and American’s hubs in JFK/LaGuardia,

Reagan National, and Philadelphia International Airport. As a January 2020 planning document

explains: “To defend and increase our leading market share position in BOS, more JetBlue

options are added in Boston’s key routes to NYC, DCA and PHL [Philadelphia], serving leisure

and business customers alike with an (almost) hourly service.”

       57.     The Northeast Alliance will eliminate the growing competition between American

and JetBlue in Boston. Indeed, for JetBlue, that is a feature of the Northeast Alliance, not a bug.

When JetBlue was developing a joint flight schedule with American in April 2020, it identified



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as a strategic goal driving higher margins in markets between Boston and American hubs. Less

than three weeks later, JetBlue circulated a draft joint network schedule showing capacity cuts in

those very markets. The schedule also proposed that American terminate its service from Boston

to Rochester and Syracuse, markets where American previously competed against JetBlue.

       B.      The Northeast Alliance Likely Will Harm Competition in Domestic Markets
               to and from JFK/LaGuardia

       58.     The Northeast Alliance will eliminate competition between American and JetBlue

in markets to and from JFK and LaGuardia, leading to reductions in capacity, higher fares, and

lower quality of service. Prior to the pandemic, American and JetBlue competed to provide

nonstop service in the 17 domestic markets with JFK or LaGuardia as an endpoint that are listed

in Appendix B. JetBlue’s nonstop service also competed against American’s connecting service

in many other domestic markets to and from JFK and LaGuardia.

       59.     JetBlue describes itself as “New York’s Hometown Airline” and is the only low-

cost carrier with a significant presence at JFK and LaGuardia. Its unique business model has

enabled it to deliver a “superior product and service compared to its legacy competitors at a

significantly lower cost.” As JetBlue touted in 2019: “Since JetBlue entered the market, overall

JFK passenger traffic has soared from about 30 million annual travelers in 1999 to 62 million

today—that happened because of us and our effect on the market!” “We’ve doubled traffic at

one of the world’s largest airports in less than two decades—that’s what competition brings—

that’s what LCCs [low-cost carriers] like JetBlue do!”

       60.     JetBlue’s introduction of Mint, a premium cabin that competes with other airlines’

business class, further illustrates JetBlue’s impact in New York City. In June 2014, JetBlue

added Mint service on flights between JFK and Los Angeles International Airport, a nonstop

route also served by American and Delta. Following JetBlue’s introduction of Mint on that


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route, JetBlue executives observed in internal emails that American and Delta “lowered” their

fares “to match B6 [JetBlue] levels.” JetBlue calculated that, following JetBlue entry, American

and Delta’s business class fares on that route fell roughly 49 to 79 percent, depending on the

class of fare.

        61.      The introduction of Mint has had similar impacts on pricing in other markets

where American and JetBlue compete. As JetBlue has explained, the “Mint premium product

has been revolutionary in the Transcontinental US. Since Mint was introduced in 2014: Public

fares for the premium cabin have decreased, making business class more affordable for all

customers.” Other carriers, including American, have also “improved their front cabin product

to better compete with Mint.”

        62.      Just as JetBlue has pressured other airlines to reduce fares and improve quality, so

too has American constrained JetBlue’s pricing. For example, in 2019, American suspended

service between JFK and San Diego International Airport, a route on which American competed

with JetBlue. Temporarily freed of competition from American, JetBlue “effectively increased

fares by $20 to $40,” making service between JFK and San Diego “one of the highest fare trans-

con markets in the system.” In other words, the elimination of American as a competitor on the

route allowed JetBlue to raise fares. The elimination of competition between American and

JetBlue after the Northeast Alliance will similarly lead to higher prices and worse service for

consumers.

        C.       The Northeast Alliance Likely Will Harm Competition in Transatlantic
                 Markets

        63.      Prior to the Northeast Alliance, JetBlue had announced plans to launch nonstop

transatlantic service, competing against American between JFK and London, and between

Boston and London. JetBlue also planned to launch nonstop service to other locations in Europe,


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like Paris, where it could “disrupt and capture market share.” The Northeast Alliance will

significantly diminish JetBlue’s incentive to compete aggressively on transatlantic service to and

from Boston and New York City—routes dominated by the legacy airlines and their international

allies. As a result, consumers will face higher prices and lower quality of service in these

markets.

       64.     As JetBlue has explained, legacy airlines control an “alarmingly high portion of

the transatlantic . . . marketplace.” The markets between London and Boston and between

London and New York City are highly concentrated, dominated by the three legacy carriers and

their respective international alliances. As a result, JetBlue has explained, “legacy-dominant”

service between the United States and Europe has become “uncompetitive” and “over priced.”

In addition, the “already dominant” legacy carriers have used alliances and other partnerships

with foreign airlines to obtain “even greater scale and control” in these markets.

       65.     By adding service to London from Boston and JFK, JetBlue planned to “disrupt

the transatlantic market through the introduction of its lower airfares and higher-quality service,

just as it has done in the transcontinental United States market since introducing its Mint

business-class product in 2014.” JetBlue has explained that it is “the only . . . credible potential

entrant” on these routes.

       66.     American recognized the threat posed by JetBlue’s introduction of transatlantic

service. On flights between Boston and London, for example, American predicted that the

revenues generated by its alliance with British Airways on that route would fall 10 percent.

American’s Managing Director of Europe, Middle East, and Asia Sales stated that competition in

that market “is going to be a fare fight especially when B6 [JetBlue] looks to get into the fray.”

       67.     Although JetBlue has recently launched service between JFK and London, and



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announced plans to launch service between Boston and London beginning in 2022, under the

Northeast Alliance, JetBlue will share revenues that American earns on transatlantic service to

and from Boston and New York City. Thus, any effort by JetBlue to undercut American on price

would reduce the revenues JetBlue earns under the revenue-sharing arrangement. As a

consequence, JetBlue will have less incentive to compete aggressively with American in those

markets, whether by lowering fares or improving service. JetBlue will also have less incentive to

enter new transatlantic markets where it would compete with American.

       D.      The Northeast Alliance Likely Will Harm Competition Between American
               and JetBlue Across Their Networks

       68.     In the following ways, among others, the Northeast Alliance likely will result in a

wide-ranging diminution of competition that extends beyond the markets where American and

JetBlue provide competing service to and from Boston and New York City.

       69.     First, as a January 2020 presentation to American’s Board of Directors highlights,

a leading value of a JetBlue partnership is to “[f]urther domestic consolidation.” Like past

mergers, the Northeast Alliance will help American reduce service and restrict capacity growth,

and enhance its efforts to achieve capacity discipline. In late March 2020, a few weeks into the

pandemic, American’s President spent “a long time on [the] phone” with Delta’s former CEO,

and then emailed American’s Chief Revenue Officer, reporting “[g]eneral agreement” that “the

industry is going to have to shed a tremendous amount of capacity.” The partnership with

JetBlue, American’s President explained, “will help facilitate” these capacity reductions.

       70.     The Northeast Alliance is particularly likely to lead to a reduction in capacity in

Philadelphia, where American operates a hub. Today, Philadelphia plays an important role in

American’s network, serving as American’s “Primary Transatlantic and Northeast connecting

hub.” Prior to the Northeast Alliance, American planned to increase its operations in


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Philadelphia, including by increasing “north/south flying” along the East Coast, offering “more

flights on peak business days,” and adding “more flights to leisure markets on Saturday.” These

investments would have increased competition, driving down prices for consumers. Under the

Northeast Alliance, however, American will share the revenues JetBlue earns on flights to and

from Boston and New York City. Therefore, American will have less incentive to follow

through on its own planned investments in Philadelphia, which it otherwise would have used to

connect many of the same origins and destinations. As American executives put it, the

partnership with JetBlue “will erode its [Philadelphia’s] unique value” for American, causing

Philadelphia to be “de prioritized.” American internally estimated that the Northeast Alliance

would cause American to forgo over $500 million in annual revenues from reduced flying out of

Philadelphia on transatlantic routes alone.

       71.     Second, the Northeast Alliance aligns the interests of JetBlue with American,

thereby limiting JetBlue’s ability and incentive to remain an independent and disruptive force.

JetBlue will have approximately two thirds of its business tied up with American under the

Northeast Alliance. As a result, JetBlue will rationally fear that aggressive actions towards

American may cause American to terminate the partnership or otherwise discipline JetBlue for

taking actions that displease American in any market.

       72.     Indeed, the Northeast Alliance empowers American to do just that: it gives

American executives new opportunities to engage regularly with JetBlue executives, and gives

them carrots and sticks with which to reward or punish JetBlue depending on the actions JetBlue

takes. For example, under the Northeast Alliance, American can selectively prevent JetBlue

from being able to market American flights on connecting routes that JetBlue does not serve.

Alternatively, if JetBlue takes actions that American favors, American can reward JetBlue by



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allowing it to market additional American flights. American also can withhold slots from

JetBlue at LaGuardia or JFK. Or, if American likes what it sees from JetBlue, American can

grant JetBlue access to more slots. In these ways and others, the Northeast Alliance will make

JetBlue beholden to its larger partner. As a result, JetBlue will be less likely to add capacity,

lower fares, or enter routes where it would compete with American anywhere in its network.

       73.      Third, the Northeast Alliance likely will cause American to pull its competitive

punches against JetBlue in order to maintain a good relationship. Already, this dynamic is

evident in American’s interactions with its other “partners.” For instance, American’s CEO

explained to his board of directors that American takes certain actions “in the spirit of

‘partnership’” with one of its international allies, including not pricing connecting service as

aggressively as it otherwise would on routes where its partner offers nonstop service.

       74.      Fourth, the Northeast Alliance will dampen competition in many markets where

no airline provides nonstop service, but where American and JetBlue provide competing

connecting service. These include the 98 markets listed in Appendix C. Residents of these

smaller communities already face few choices in how they fly, and the connecting service

offered by JetBlue is often their only alternative to high-priced connecting service provided by

the legacy airlines. In these markets, American connects passengers through one of its hubs,

such as Philadelphia or Charlotte. JetBlue competes with American in these markets by

providing connecting service through Boston or JFK. Under the Northeast Alliance, American

will share the revenues that JetBlue generates in these markets, thereby diminishing Defendants’

incentives to compete against each other. As a result, consumers in these markets likely will pay

higher fares.

       75.      Fifth, the Northeast Alliance makes JetBlue less likely to pursue partnerships with



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other, small airlines that share JetBlue’s incentive to disrupt the legacy carriers’ hold on U.S.

domestic markets. Prior to the Northeast Alliance, JetBlue aspired to obtain, through

transactions with other airlines, a national footprint to challenge the legacy carriers. Provisions

in the Northeast Alliance agreements diminish the ability and incentive of JetBlue to pursue

these and other disruptive transactions, for example, by imposing financial penalties on JetBlue

for engaging in certain agreements with other carriers.

VII.   ABSENCE OF COUNTERVAILING FACTORS

       A.      New Entry and Expansion Will Not Prevent the Harms to Consumers

       76.     New entry, or expansion by existing competitors, is unlikely to be timely or

sufficient to prevent or remedy the Northeast Alliance’s likely anticompetitive effects. New

entrants into a particular market face significant barriers to success, including difficulty in

obtaining access to slots and gate facilities; the effects of corporate discount programs offered by

dominant incumbents; loyalty to existing frequent flyer programs; an unknown brand; and the

risk of aggressive responses to new entry by the dominant incumbent carrier. In addition, entry

is highly unlikely on routes where the origin or destination airport is another airline’s hub,

because the new entrant would face substantial challenges attracting sufficient local passengers

to support service.

       B.      Any Transaction-Specific Efficiencies Do Not Outweigh the Harms to
               Consumers

       77.     There are no transaction-specific and cognizable efficiencies that outweigh the

likely competitive harms of the Northeast Alliance. Consistent with its role as a disruptive

competitor that has increased capacity more than the legacy airlines, JetBlue has generally made

more efficient use of its slot holdings in New York City than American, including by flying

bigger planes than American. American now seeks to capitalize on its own inefficiency by


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claiming that the Northeast Alliance will enable JetBlue to use its slots instead, resulting in

growth benefitting consumers. But there is nothing stopping American from doing this on its

own. American could—and in fact planned to—make more effective use of its own slots even

without the Northeast Alliance, such as by replacing some of its smaller regional jets with larger

planes, allowing it to offer additional seats to customers. Moreover, American could—and in

fact planned to—simply sell or lease some of its slots to JetBlue. The Northeast Alliance is not

reasonably necessary to accomplish any of Defendants’ allegedly procompetitive goals. There

are less restrictive alternatives by which Defendants could reasonably achieve any

procompetitive benefits. Consumers will be better off if American and JetBlue continue to

compete for their business.

       C.      The Covid-19 Pandemic Does Not Excuse the Harms to Consumers

       78.     Defendants seek to justify their unprecedented and anticompetitive alliance by

pointing to the temporary decrease in consumer demand for air travel that has resulted from the

pandemic. The Northeast Alliance, however, was in the works before the pandemic began to

affect the demand for air travel in the United States. In addition, as American and JetBlue

themselves have stated publicly, the impact of the pandemic on demand is temporary, and the

industry is expected to rebound. Neither airline is failing; they received billions of dollars in

subsidies from American taxpayers over the course of the pandemic. There is no reason to

accept the significant loss of competition that will accompany the Northeast Alliance. Air travel

will recover and, as it does, it is important that American and JetBlue continue to compete for the

benefit of consumers.




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       D.      Defendants’ Commitments Are Inadequate to Prevent the Harms to
               Consumers

       79.     On January 10, 2021, Defendants entered into an agreement with the United

States Department of Transportation in which they made several commitments regarding the

Northeast Alliance. These commitments fail to remedy the harms likely to result from the

Northeast Alliance because, among other things, they do not address the competitive harms

likely to occur in markets to and from Boston; are far too small in scope to address the harms

likely to occur in the many markets to and from New York City; fail to remedy the harms in

other markets where Defendants likely will reduce capacity and raise fares; and fail to prevent

the diminution in JetBlue’s independence and disruptiveness that is likely to result from the

Northeast Alliance.

       80.     Essentially conceding the anticompetitive nature of the Northeast Alliance,

Defendants have recently amended their agreements to carve out from capacity coordination and

revenue-sharing six extraordinarily concentrated markets to and from Boston where both

Defendants provided competing nonstop service prior to the pandemic. These amendments,

however, leave open the prospect that American and JetBlue could add these routes back into the

Northeast Alliance under certain conditions. Moreover, even now, these six markets remain

within the scope of certain provisions of the Northeast Alliance, including those that allow

Defendants to code-share. The amendments to the Northeast Alliance fail to adequately address

the anticompetitive effects in these six markets and do nothing to address the many other markets

where the Northeast Alliance likely will harm competition.

VIII. VIOLATION ALLEGED

       81.     The United States and Plaintiff States hereby incorporate the allegations of

paragraphs 1 through 80 above as if set forth fully herein.


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       82.     The Northeast Alliance is a contract, combination, and conspiracy within the

meaning of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       83.     Under the Northeast Alliance, Defendants will collectively have market power in

the sale of scheduled air passenger service in the markets listed in the Appendices, and in other

markets where Defendants compete or likely would compete in the future.

       84.     The Northeast Alliance unreasonably restrains competition in the relevant

markets, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       85.     Unless enjoined, the Northeast Alliance likely would have the following effects,

among others, in the relevant markets:

               (a)     actual and potential competition between American and JetBlue would be

                       eliminated;

               (b)     competition in general among airlines would be reduced;

               (c)     airline fares would be higher than they otherwise would be;

               (d)     capacity would be lower than it otherwise would be; and

               (e)     service would be lessened.

       86.     The prospective procompetitive benefits, if any, do not outweigh the likely

anticompetitive effects of the Northeast Alliance.

IX.    REQUEST FOR RELIEF

       87.     Plaintiffs request that:

               (a)     the Northeast Alliance be adjudged to violate Section 1 of the Sherman

                       Act, 15 U.S.C. § 1;

               (b)     Defendants be permanently enjoined from continuing and restrained from

                       further implementing the Northeast Alliance;

               (c)     Plaintiffs be awarded their costs of this action, including attorneys’ fees;
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          and

    (d)   Plaintiffs be awarded such other relief as the Court may deem just and

          proper.




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Dated: September 21, 2021

Respectfully submitted,

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            APPENDIX A – Shares and HHI Based on Calendar Year 2019 Revenues

                                                             American      JetBlue     Combined        Resulting    Increase in
Market                                                        Share         Share        Share           HHI           HHI
Boston (BOS) to Charlotte (CLT)                                72%           25%          96%            9245          3518
Boston (BOS) to Washington DC (DCA)*                           44%           44%          88%            7877          3870
Boston (BOS) to Philadelphia (PHL)                             57%           30%          87%            7716          3423
Boston (BOS) to Rochester (ROC)                                29%           57%          86%            7548          3344
Boston (BOS) to Phoenix (PHX/AZA)                              69%           16%          85%            7319          2223
Boston (BOS) to Dallas (DFW/DAL)                               67%           16%          84%            7086          2190
Boston (BOS) to Syracuse (SYR)                                 25%           57%          82%            6968          2887
Boston (BOS) to Miami (MIA/FLL)                                41%           35%          76%            6052          2889
Boston (BOS) to Los Angeles (LAX/LGB/BUR/ONT/SNA)              28%           34%          63%            4404          1941
Boston (BOS) to NYC (JFK/LGA)                                  29%           21%          50%            5000          1207
Boston (BOS) to Chicago (ORD/MDW)                              35%           13%          48%            3661           940
* Delta began nonstop service in this market in September 2019. Therefore, the shares and the HHI in this market were
calculated based on revenue generated in the Fourth Quarter of 2019, the full quarter following Delta’s entry into the market.




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           APPENDIX B – Shares and HHI Based on Calendar Year 2019 Revenues

                                                               American JetBlue         Combined       Resulting Increase in
Market                                                          Share        Share        Share          HHI           HHI
NYC (JFK/LGA) to Nantucket (ACK)*                                 6%          90%          95%           9091          1034
NYC (JFK/LGA) to Martha's Vineyard (MVY)*                        18%          73%          91%           8327          2584
NYC (JFK/LGA) to Phoenix (PHX/AZA)                               52%          9%           62%           4943           951
NYC (JFK/LGA) to West Palm Beach (PBI)**                          3%          57%          60%           5177           379
NYC (JFK/LGA) to Los Angeles (LAX/LGB/BUR/ONT/SNA)               27%          32%          58%           4452          1686
NYC (JFK/LGA) to Miami (MIA/FLL)                                 33%          23%          56%           4609          1522
NYC (JFK/LGA) to Orlando (MCO)                                    7%          48%          55%           4797           672
NYC (JFK/LGA) to Boston (BOS)                                    29%          21%          50%           4999          1207
NYC (JFK/LGA) to Raleigh-Durham (RDU)                            37%          11%          48%           4980           821
NYC (JFK/LGA) to Savannah (SAV)                                   5%          41%          47%           5003           422
NYC (JFK/LGA) to Las Vegas (LAS)                                 14%          32%          46%           4630           893
NYC (JFK/LGA) to San Francisco (SFO/OAK/SJC)                     19%          27%          46%           3688          1037
NYC (JFK/LGA) to Austin (AUS)                                    23%          21%          45%           4304           993
NYC (JFK/LGA) to San Diego (SAN)                                 12%          33%          45%           4617           791
NYC (JFK/LGA) to Charleston (CHS)                                 9%          35%          44%           5054           615
NYC (JFK/LGA) to Portland, ME (PWM)                              20%          18%          37%           5317           695
NYC (JFK/LGA) to Chicago (ORD/MDW)                               33%          3%           36%           2732           207
* Both American and JetBlue operate nonstop service in these markets on a seasonal basis during the summer.
** American operates nonstop service in this market during the winter, while JetBlue operates nonstop service in this market
year round.




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           APPENDIX C – Shares and HHI Based on Calendar Year 2019 Revenues

                                                        American   JetBlue Combined Resulting   Increase in
Market                                                   Share      Share    Share    HHI          HHI
Martha's Vineyard (MVY) to Charleston (CHS)               21%        79%     100%    10000         3286
Nantucket (ACK) to Sarasota (SRQ)                         29%        71%     100%    10000         4119
Nashville (BNA) to Martha's Vineyard (MVY)                64%        31%      96%     9165         4017
Jacksonville (JAX) to Martha's Vineyard (MVY)             12%        83%      95%     9125         2007
New Orleans (MSY) to Martha's Vineyard (MVY)              65%        26%      91%     8432         3432
Martha's Vineyard (MVY) to Pittsburgh (PIT)               19%        72%      91%     8376         2783
Nantucket (ACK) to New Orleans (MSY)                      19%        70%      90%     8096         2725
Nantucket (ACK) to Portland, OR (PDX)                      5%        85%      90%     8221          881
Nantucket (ACK) to Rochester (ROC)                        10%        80%      90%     8229         1642
Nantucket (ACK) to Jacksonville (JAX)                      6%        84%      90%     8085         1013
Martha's Vineyard (MVY) to Raleigh-Durham (RDU)           26%        63%      89%     8036         3324
Nantucket (ACK) to Tampa (TPA/PIE)                        11%        78%      89%     7947         1680
Orlando (MCO) to Martha's Vineyard (MVY)                   9%        81%      89%     8081         1386
Nantucket (ACK) to Charleston (CHS)                       17%        70%      87%     7644         2331
Nantucket (ACK) to Orlando (MCO)                           5%        82%      87%     7582          808
Martha's Vineyard (MVY) to Tampa (TPA/PIE)                16%        68%      84%     7260         2240
Martha's Vineyard (MVY) to Syracuse (SYR)                 12%        72%      84%     7300         1748
Nantucket (ACK) to Fort Myers (RSW)                        5%        78%      83%     7076          793
Nantucket (ACK) to Raleigh-Durham (RDU)                   18%        64%      83%     6927         2365
Martha's Vineyard (MVY) to Cleveland (CLE/CAK)            28%        54%      82%     6881         3040
Martha's Vineyard (MVY) to Charlotte (CLT)                63%        20%      82%     6989         2468
Nantucket (ACK) to Richmond (RIC)                         13%        69%      82%     6860         1806
Martha's Vineyard (MVY) to Richmond (RIC)                 16%        63%      79%     6483         1990
Nantucket (ACK) to Miami (MIA/FLL)                        15%        63%      78%     6268         1890
Miami (MIA/FLL) to Martha's Vineyard (MVY)                13%        64%      77%     6179         1661
Nantucket (ACK) to Charlotte (CLT)                        50%        27%      77%     6242         2698
Nantucket (ACK) to Pittsburgh (PIT)                       10%        66%      76%     6082         1345
Nantucket (ACK) to Philadelphia (PHL)                     12%        63%      75%     6246         1516
Nantucket (ACK) to Cleveland (CLE/CAK)                    28%        44%      72%     5446         2439
Minneapolis-St. Paul (MSP) to Martha's Vineyard (MVY)     10%        61%      71%     5610         1241
Nantucket (ACK) to Atlanta (ATL)                          15%        55%      70%     5311         1660
Martha's Vineyard (MVY) to Chicago (ORD/MDW)              37%        33%      70%     5697         2433
Nantucket (ACK) to Nashville (BNA)                        29%        41%      70%     5297         2383
Buffalo (BUF) to Palm Springs (PSP)                       63%         5%      68%     5112          631
Martha's Vineyard (MVY) to Atlanta (ATL)                  33%        34%      67%     5145         2220
Nantucket (ACK) to Phoenix (PHX/AZA)                      43%        23%      66%     4918         1961
Martha's Vineyard (MVY) to Dallas (DAL/DFW)               59%         5%      64%     5108          609
San Juan (SJU) to Syracuse (SYR)                          21%        43%      64%     4690         1801
Martha's Vineyard (MVY) to Detroit (DTW)                  19%        43%      62%     4773         1616
Nantucket (ACK) to Dallas (DAL/DFW)                       54%         8%      62%     5062          913
Nantucket (ACK) to Chicago (ORD/MDW)                      28%        33%      61%     4397         1841
Burlington (BTV) to San Juan (SJU)                        17%        44%      61%     4518         1515
Martha's Vineyard (MVY) to Savannah (SAV)                  9%        50%      60%     5186          931
Burlington (BTV) to Fort Myers (RSW)                      40%        18%      58%     4259         1431
Burlington (BTV) to West Palm Beach (PBI)                 36%        22%      58%     4289         1586
Burlington (BTV) to Jacksonville (JAX)                    45%        12%      57%     4280         1111
West Palm Beach (PBI) to Syracuse (SYR)                   50%         7%      57%     4563          690
Jacksonville (JAX) to Syracuse (SYR)                      51%         5%      56%     4512          553
Albuquerque (ABQ) to Syracuse (SYR)                       50%         6%      56%     4131          574




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          APPENDIX C – Shares and HHI Based on Calendar Year 2019 Revenues

                                                          American JetBlue Combined Resulting   Increase in
Market                                                     Share    Share    Share    HHI          HHI
Burlington (BTV) to Tampa (TPA/PIE)                         43%      12%      55%     4044         1043
Burlington (BTV) to Miami (MIA/FLL)                         40%      15%      54%     4062         1164
Savannah (SAV) to Syracuse (SYR)                            47%       6%      54%     4377          595
Burlington (BTV) to Charleston (CHS)                        40%      12%      52%     3848          953
Burlington (BTV) to Raleigh-Durham (RDU)                    40%      12%      52%     3932          976
Nantucket (ACK) to Detroit (DTW)                            23%      29%      52%     3517         1342
Charleston (CHS) to Syracuse (SYR)                          46%       5%      51%     4226          448
Burlington (BTV) to Phoenix (PHX/AZA)                       37%      13%      50%     3721          939
Burlington (BTV) to Savannah (SAV)                          35%      14%      50%     3867         1024
Buffalo (BUF) to Savannah (SAV)                             41%       8%      49%     4351          665
Burlington (BTV) to New Orleans (MSY)                       40%       9%      49%     3736          731
Albuquerque (ABQ) to Burlington (BTV)                       21%      28%      48%     3739         1140
Burlington (BTV) to Buffalo (BUF)                           26%      22%      48%     3641         1126
Reno (RNO) to Rochester (ROC)                               23%      25%      48%     4442         1144
Providence (PVD) to San Juan (SJU)                          32%      15%      47%     3741         945
Portland, ME (PWM) to Rochester (ROC)                       40%       6%      46%     3094         485
San Diego (SAN) to Syracuse (SYR)                           40%       6%      46%     3523         488
Syracuse (SYR) to Los Angeles (LAX/LGB/BUR/ONT/SNA)         33%      13%      46%     3517         862
Jacksonville (JAX) to Portland, ME (PWM)                    38%       6%      44%     3260         437
Burlington (BTV) to Orlando (MCO)                           24%      19%      43%     2973         925
Las Vegas (LAS) to Syracuse (SYR)                           38%       6%      43%     3369         425
Albuquerque (ABQ) to Rochester (ROC)                        30%      11%      41%     2900         672
Fort Myers (RSW) to Syracuse (SYR)                          35%       5%      41%     3043         379
Buffalo (BUF) to Portland, ME (PWM)                         32%       8%      40%     2861         508
Burlington (BTV) to San Diego (SAN)                         22%      17%      40%     3559         769
Portland, ME (PWM) to San Juan (SJU)                        31%       9%      40%     2807         557
Boston (BOS) to Reno (RNO)                                  35%       5%      40%     2928         375
Buffalo (BUF) to San Juan (SJU)                             12%      27%      39%     3175         671
Buffalo (BUF) to West Palm Beach (PBI)                      31%       7%      38%     3243         422
Burlington (BTV) to Los Angeles (LAX/LGB/BUR/ONT/SNA)       19%      19%      38%     3650         706
Rochester (ROC) to San Juan (SJU)                           18%     20%      38%      2880         713
Rochester (ROC) to Savannah (SAV)                           31%       6%     38%      4031         384
West Palm Beach (PBI) to Rochester (ROC)                    29%       9%     38%      3237         526
Austin (AUS) to Burlington (BTV)                            26%     10%      36%      3401         499
Miami (MIA/FLL) to Rochester (ROC)                          30%       6%     36%      3075         352
Portland, ME (PWM) to Los Angeles (LAX/LGB/BUR/ONT/SNA)     29%       7%     36%      3071         410
Raleigh-Durham (RDU) to Rochester (ROC)                     31%       5%     36%      2765         321
San Francisco (SFO/OAK/SJC) to Syracuse (SYR)               25%     11%      36%      3298         542
San Juan (SJU) to Albany (ALB)                              19%     16%      36%      3324         628
Los Angeles (LAX/LGB/BUR/ONT/SNA) to Rochester (ROC)        26%       9%     35%      3127         475
Burlington (BTV) to Las Vegas (LAS)                         26%       9%     34%      3305         442
Jacksonville (JAX) to Rochester (ROC)                       28%       6%     34%      3032         325
Portland, ME (PWM) to Reno (RNO)                            14%     20%      33%      4871         540
Albuquerque (ABQ) to San Juan (SJU)                         27%       5%     32%      2652         279
Burlington (BTV) to Seattle (SEA)                           16%     17%      32%      3426         525
Seattle (SEA) to Syracuse (SYR)                             27%      6%      32%      2869         305
Syracuse (SYR) to Houston (IAH/HOU)                         26%      6%      32%      3447         298
Key West (EYW) to Syracuse (SYR)                            24%      8%      31%      3904         371
Martha's Vineyard (MVY) to Phoenix (PHX/AZA)                5%      26%      31%      5712         247




                                            APPENDIX C-2
